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Attorneys for Plaintiff
FACEBOOK, INC.

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

FACEBOOK, INC.,
Plaintiff,
V.
THOMAS PEDERSEN, an individual, d/b/a
Faceporn.com and RETRO INVENT AS, a

Norwegian private limited company d/b/a
Faceporn.coim,

Defendants.

 

 

 

FACEBOOK V. FACEPORN
CASE NO. CV10-4673 (JWs)

Case No. CV 10-4673 (JSW)

PROOF OF SERVICE OF SUMMONS AND
First AMENDED COMPLAINT ON RETRO
INVENT

PROOF OF SERVICE

 
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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of California

FACEBOOK, INC.,
Plaintiff

v Civil Action No. CV10-4673 SW)

THOMAS PEDERSEN, an individual, d/b/a
Faceporn.com and RETRO INVENT AS, a
Norwegian private limited company d/b/a
Faceporn.com

Ne Se ne” el! Nell Neel” Set

Defendant

SUMMONS IN A CIVIL ACTION
ON FIRST AMENDED COMPLAINT

To: (Defendant's name and address)

RETRO INVENT AS
Valendorfsgaten 9
Bergen 5012

Norway

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) —- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -~ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:

ANNE H. PECK (SBN 124790
JEFFREY T. NORBERG (SBN 215087)
Cooley LLP

3175 Hanover Street

Palo Alto, CA 94304-1130

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURF-—~
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* Si gnatire fC Terk or Deputy Clerk
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Date:

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AO 440 (RE. 12/09) Summons in a Civil Action (Page 2) QL - O TA 42,

Civil Action No.

PROOF OF SERVICE

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designated by law to acceph service of process on iN of of organization) | a
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CERTIFICATE
ATTESTATION

‘The undersigned authority has the honour to certify, In conformity with article 6 of the Convention,
L'autorité soussignés a l'honneur dattester conformément 4 Uarticte 6 de ladite Convention, :

1) that the document has been served *
4. que ba demande a été exdcuthe

= the (date) A PY ZL S74 LO //

« fe (date)

~ at (place, street, aumber) _ LGA |) ROL LEN of SISE

+@ flacatlité, rue numéro)

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~ la one of the following methods authorised by article 5- , / C/E i AOE AL “tT cc AA
~dans une des formes sulvantes prévues & Varticle $: ‘
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_ O) selon ies formes légales (article 5, alinéa premier, lettre a).

() () ia accordance with the following particular methed*: — . :
| PERSONA LL

&) selon la forme particullére suivante :

C1 (©) by delivery to the addressee, who accepted Ht voluntarily. *
o} par remtse simple
The documents referred to In the request have besa delivered to:
Les documents mentionnds dans la demande ont dé remls ds

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o(identué et qualité de la persoune)

orelajlonship to the addressee (famally, business, or other): . , a . Py pee
MAMA EIVE ORE ET OR

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2) that the document has not been served, by reason of the following facts*: U fF , J? ff & a C4 AS d )
2. que la demande n'a pas did exdcutée, en ralson des fatts suivants: ~ , a :
: _ | RETRO SMVEDST AS

 

 

Inconformlity with the second paragraph ef article 12 of the Convention, the applicant ls requested to pay or reimburse
the expenses detalled In the attached statement*;

Conforméat @ l'article 12, alinga 2, de tadtte Convention, le requéraal est prié de payer ou de rembourser les Jrets dont le

détall figure au mdmotre et-jotht.

Annexes

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Dacuments returned:
Piéces renvoyées:

 

 

 

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In appropriate cases, documents establishing the service:

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__ : Signature et fou cachet.

 

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